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tF"£D "Y ._ _ D.c.
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRlCT 0F TENNESSEE 05 JUN 27 w H l 03
WESTERN DIvISION
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DANNY DEAToN, _:W_g¢ §§ :.;_}j; EM:FEFS,
Plaintiff,
V. NO. 99-28] 5

CITY OF MEMPHIS, ct al.,

Defendants.

 

ORDER GRANTING lN PART AND DENYING IN PART DEFENDANTS’
MOTION IN LIMINE AND GRANTING PLAINTIFF’S MOTION IN LIMINE

 

This action was initiated on September 17, 1999 by the Plaintiff, Danny Deaton, under 42
U.S.C. §§ 1983 and 1988 alleging that the Defendants, various Memphis police officers and the City
of Memphis, violated his constitutional and state law rights in connection with incidents occurring
during his arrest. In ruling on various motions filed by the Defendants, the Court has dismissed
many of the Defendants, including the City of Memphis, except for the individual officers and Mayor
W. W. Herenton. The remaining claims against these Defendants include Deaton’s allegations of
unlawful search and seizure and use of excessive force in violation of the Fourth Amendment of the
United States Constitution, violation of the right to adequate medical care under the Fourteenth
Amendment, and intentional infliction of emotional distress under the Tennessee common laW.'

Before the Court are two motions in limine, one filed by the Defendant officers and the other by the

 

’ The only claim remaining against I-Ierenton is for negligence under the Tennessee
Governmental Tort Liability Act (“TGTLA”), Tenn. Code Ann. § 29-20-101 e_t Lq; In
considering Herenton’s motion to dismiss, fortner District Judge Julia S. Gibbons concluded that
he had not requested dismissal of Plaintiff’s negligence claim, and therefore, found that the claim
survived (_SE Order Granting In Part Def. W.W. Herenton’s Mot. to Dismiss at ll.)

Thts document entered on the docket sheet tn compliance

with eula se and/or re(a) FRCP on Q 32 Z£,"’g

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Plaintif`f`.2 As the parties have responded to the motions, they are now appropriate for dispositionl

I. Defendants’ Motion in Limine

First, Defendants seek to exclude Witness statements ofDelola Wright and Of`ficer Lowrance
from the internal affairs files because they “may be hearsay.” (Mot. Def. Officers in Limine Exclude
Certain Proof`Testimony Mem. Supp. Thereof(“Def. Mot.”) at 1 .) However, as the Defendants have
not indicated the context in which the statements were made nor their content, the Court cannot
determine their admissibility at this time. For instance, if Lowrance, now deceased, made a
statement While dying, such a remark might be admissible under Rule 804(b)(2) of the F ederal Rules
of Evidence as a dying declaration if it met the requirements of that Rule. _Sg Fed. R. Evid.
804(b)(2); g alj Fed. R. Evid. 803. Thus, Defendant’s motion to exclude this evidence is denied
Without prejudice, subject to being renewed at trial.

Second, the individual officers seek to exclude “Internal Aff`airs/Security Squad and any other
records of [Memphis Police Department] investigations regarding alleged shooting of John
[Lowrance]” because the statements may contain hearsay and hearsay within hearsay statements
(Def`. Mot. at 2, 4.) Agaiu, without the context and more specificity regarding these records and how
they were created, the Court is unable to conclude that the records are inadmissible §e§ Fed. R.
Evid. 803(6) & (8). As the Plaintiff points out, it is impossible to determine the hearsay nature
without further information (Pl. ’s Mem. Resp. Def. Officer’s Mot. In Limine (“Pi.’s Mem.”) at 4.)

Accordingly, the records cannot be excluded at this time.

 

2 The Defendant officers filed objections to Plaintiff’s Federal Rule of Civil Procedu.re
26(a)(3) disclosures which request exclusion of the same evidence that is discussed in their
motion in limine. Therefore, the Court will only address the Defendants’ motion

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Next, the Defendants seek to keep out evidence regarding “Statement of charges,
administrative summons, Hearing summary Form I, Administrative Summons (Appeal),
Commanding Officers’s performance Report re: Defendant Officers; all disciplinary files as to these
Defendant Officers and John Lowrance, and personnel files of Defendant officers and testimony as
to the information contained in the foregoing documents.” (Def. Mot. at 2.) Defendants argue that
this evidence is irrelevant under Rule 401 and 402 of the Federal Rules of Evidence and unfairly
prejudicial under Rule 403. Rule 401 defines relevant evidence as “evidence having any tendency
to make the existence of any fact that is of consequence . . . more probable or less probable than it
would be without the evidence.” Fed. R. Evid. 401. Nevertheless, relevant evidence may be
excluded by the Court if the probative value of the evidence is “substantially outweighed by the
danger of unfair prejudice.” Fed. R. Evid. 403. However, because the Court is uncertain about what
the Statement of charges, administrative summons, Hearing summary Form I, and Administrative
Summons (Appeal) are and Whether they would tend to make a fact more or less probable, the Court
cannot determine the relevancy of the documents or ascertain whether they Would be unfairly
prejudicial under Rule 403.

With respect to the officers’ disciplinary and personnel files and commanding officers’
performance reports, the Defendants argue that this evidence is unfairly prejudicial and inadmissible
under Rule 404(b) as prior bad acts. (Def. Mot. at 2-3 .) Rule 404 precludes a party from putting on
evidence of a person’s crimes, Wrongs, or bad acts for the purpose of proving action in conformity
therewith on the occasion in question Fed. R. Evid. 404. However, such evidence is admissible for
other purposes, “such as proof of motive, opportunity, intent, . . . or absence of mistake or accident.”

Fed. R. Evid. 404(b). Defendants submit that evidence of intent or absence of` mistake is not relevant

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in this case because in excessive force cases the standard is “obj ective reasonableness” of the officer
in light of the facts and circumstances confronting them at the time. (Def. Mot. at 3.) In Qrah_arn
v. Conner, 490 U.S. 386, 399, 109 S.Ct. 1865, 1873, 104 L.Ed.2d 443 (1989), the Supreme Court
concluded that the “Fourth Amendment inquiry is one of ‘objective reasonableness’ under the
circumstances and subjective concepts like ‘malice’ and ‘sadism’ have no proper place in that
inquiry.”3

Plaintiff responds that the personnel files are relevant to whether the City adequately trained,
retained, and disciplined the officers (Pl. ’s Mem. at 3.) However, because the City of Memphis is
no longer a party to this litigation, Plaintiff"s position is tenuous In Franklin v. Messmer, No. 03-
5184, 2004 WL 2203592, at **1 (6th Cir. Sept. 14, 2004), the Sixth Circuit found that the district
court properly excluded as neither probative nor relevant, evidence regarding the police officer’s
prior conduct and disciplinary complaints indicating that the officer had engaged in excessive force

in the past. Observing that the “reasonableness inquiry” under Graham in excessive force cases is

 

3 Nonetheless, courts have recognized an exception to allow for allegations of punitive
damages since a plaintiff can only recover punitive damages when there is evidence of evil
motive or reckless disregard of the constitutional rights of others Smith v. Wade, 461 U.S. 30,
51, 103 S.Ct. 1625, 1637, 75 L.Ed.2d 632 (1983) (to recover punitive damages requires proof of
evil motive); g §g, Martinez v. Cig[ of Stockton, 132 F.R.D. 677, 682-83 (E.D. Cal. 1990),
overruled on M grounds l_)y Jackson v. Coung[ of Sacramento, 175 F.R.D. 653, 654 (E.D. Cal.
1997) (recogm'zing two caveats to the general rule of Graharn, when a municipality or county is
named in the excessive force suit and when the complaint contains allegations of punitive
damages); Moody v. Ferggson, 732 F. Supp. 627 (D.S.C. 1989); Pastre v. Weber, 717 F. Supp.
992 (S.D.N.Y. 1989). Here, Deaton has asserted a claim f`or punitive damages based on the
Defendants’ malicious and intentional conduct (&e_e Compl. at 13-14.) Additionally, Plaintiff
has asserted a claim for intentional infliction of emotional distress under Tennessee common law
which requires that the conduct complained of be either intentional or reckless §§ Bain v.
M, 936 S.W.2d 618, 622 (Tenn. 1997). Inasmuch as the parties have not specifically
addressed this issue, the Court defers resolution of the question of admissibility for these
purposes until trial.

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an objective one, the court determined that evidence used “to demonstrate [the officer’s] underlying
intent in arrests, i.e., his propensity for excessive force, . . . was properly excluded.” M._ (citing
Bowman v. Corr. Coro. of Am.. 350 F.3d 537, 549 (6th Cir. 2003). Likewise, in Carter v. District
ofColumbia, 795 F.2d 116, 131 (D.C. Cir. 1986), the court concluded that “[p]ermitting the jury to
consider the complaints and accounts of misconduct contained in the personnel files of [the
defendant officers] presented a grave danger of unfair prejudice” and is “precisely what Rule 404(b)

proscribes.” L; se_e als_o Berkovich v. Hicks, 922 F.2d 1018, 1022-23 (2d Cir. 1991) (holding that

 

the trial court did not abuse its discretion in finding the slight probative value of the defendant
officer’s history of prior civilian complaints, With regard to a theory of motive, pattern, or other
theories of relevance, was substantially outweighed by its potential for unfair prej udice).
Accordingly, the Court GRANTS the Defendants’ motion as to the officers’ personnel and
disciplinary records and commanding officers’ performance reports regarding the same.

Next, the Defendants seeks to exclude the “[Memphis Police Department] Incident report;
Internal Affairs/Security Squad and any other records of [Memphis Police Department]
investigations regarding [Plaintif`f’s] arrest” because these documents contain hearsay or opinion
However, without the ability to inspect the records and determine whether any hearsay exceptions
apply to the reports as well as to statements contained in the reports, the Court must await until trial
to determine the admissibility of this evidence S_ee Fed. R. Evid. 805 .

Finally, the officers ask the Court to exclude part of the Plaintiff’s expert’s testimony with
respect to alleged constitutional violations of any individuals other than the Plaintiff, introduction
of any alleged conspiracy, and testimony as to alleged perjury as to any Defendant based on opinion

(Def. Mot. at 4.) Plaintiff contends that any opinions by his expert, Pred G, Robinette, III, that

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constitutional violations occurred prior to Deaton’s incident would be relevant to both training and
discipline polices and customs alleged against the City. As previously noted, the City is no longer
a party to this litigation, and therefore, evidence of the its policies and customs is not relevant
Additionally, Plaintiff concedes that he has no plans to submit expert testimony regarding perj ury.
Thus, the Defendants’ motion is GRANTED regarding evidence of constitutional violations by the
Defendants that occurred prior to Deaton’s incident and with respect to any testimony of perjury
committed by the Defendants. However, without a more specific reference to what the evidence of
the “alleged conspiracy” may contain and its purpose, the Court is unable to completely rule on this
evidence until trial.

II. Plaintiff s Motion in Limine“

Plaintiff seeks exclusion of any mug shots or photographs of him that may have been taken
on September 23, 1998. Deaton additionally asks that the Court prohibit evidence regarding his
arrest record or history. The Defendants argue that the Court cannot determine the issue of whether
Plaintiff’s record is admissible without knowing the type and date of the arrests, citing to Federal
Rule of Evidence 609 which provides that, for the purpose of attacking the credibility of a witness,
evidence of criminal convictions may be admitted when certain requirements have been met.
However, Rule 609 specifically refers to convictions, “and one may not extrapolate from convictions
to other situations such as arrests.” United States v. Wilson, 244 F.3d 1208, 1217 (10th Cir. 2001)
(citing United States v. Enjady, 134 F.3d 1427, 1435 (10th Cir.), Lrt. de_ni§d, 525 U.S. 887, 119

S.Ct. 202, 142 L.Ed.2d 165 (1998) (Rulc 609 “inapposite” where acts in question “did not result in

 

4 On January 10, 2005, Deaton filed objections pursuant to Federal Rule of Civil
Procedure 26(a){3) to materials identified by Defendant officers This filing also contained a
related motion in limine.

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criminal convictions”). Moreover, even if Rule 609 applied to arrests, “the potential for prejudice
is high and past arrests have little probative value because ‘arrest without more does not, in law any
more than in reason, impeach the integrity or impair the credibility of a witness lt happens to the

innocent as well as the guilty.”’ § (citing United States v. Robinson, 978 F.2d 1554, 1559-60 (10th

 

Cir. 1992) (quoting Michelson v. United States, 335 U.S. 469, 482, 69 S.Ct. 213, 93 L.Ed. 168

 

(1948))). Theref`ore, the Court concludes that any evidence regarding past arrests of Plaintiff is
irrelevant and inadmissible In their response, Defendants have not argued that they should be able
to admit mug shots or photographs of Deaton. Accordingly, Plaintiff’s motion in limine is
GRANTED.
CONCLUSION
Accordingly, for the reasons stated herein, the Defendants’ motion in limine is GRANTED
in part and DENIED in part, and Plaintiff’s motion in limine is GRANTED.

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J IEL BREEN \
1 ED srATEs DISTRICT JUDGE

   

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